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 Fill in this information to identify your case:
 Debtor 1            Jerome              Albert                 Grisaffi
                     First Name          Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
 (if known)
                                                                                                           Check if this is an amended filing

Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                             10/19
You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).



 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A             Column B
                                                                                            Debtor 1             Debtor 2
2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                      $4,000.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
     if Column B is filled in.
4.   All amounts from any source which are regularly paid for household                            $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.

5.   Net income from operating a business, profession, or farm

                                            Debtor 1            Debtor 2

     Gross receipts (before all                    $0.00
     deductions)

     Ordinary and necessary operating   –          $0.00    –
     expenses
                                                                                Copy
     Net monthly income from a business,           $0.00                        here               $0.00
     profession, or farm




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Debtor 1        Jerome Albert Grisaffi                                                                                              Case number (if known)

                                                                                                                                         Column A          Column B
                                                                                                                                         Debtor 1          Debtor 2
6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                     $0.00                                       here                    $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                        $0.00
8.   Unemployment compensation                                                                                                                 $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                              $0.00
         For you............................................................................................................................
         For your spouse..............................................................................................................
9.   Pension or retirement income. Do not include any amount received that                                                                 $1,468.00
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity,
    or allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page
    and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                    +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                $5,468.00   +              =   $5,468.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                      Total current
                                                                                                                                                                      monthly income




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Debtor 1     Jerome Albert Grisaffi                                                      Case number (if known)

 Part 2:      Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


    X   /s/ Jerome Albert Grisaffi                                           X
        Jerome Albert Grisaffi, Debtor 1                                         Signature of Debtor 2

        Date 11/19/2019                                                          Date
             MM / DD / YYYY                                                             MM / DD / YYYY




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